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                      EXHIBIT C
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                      EXHIBIT D
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                      EXHIBIT E
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                      EXHIBIT F
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                      EXHIBIT G
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                      EXHIBIT H
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                       EXHIBIT I
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                       EXHIBIT J
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                      EXHIBIT K
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                       EXHIBIT L
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                      EXHIBIT M
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                       EXHIBIT N
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                       EXHIBIT O
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                       EXHIBIT P
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                       EXHIBIT Q
 (LODGED UNDER SEAL PURSUANT TO CIVIL LOCAL
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                       EXHIBIT R
 (LODGED UNDER SEAL PURSUANT TO CIVIL LOCAL
 RULE 79-5 AND STIPULATED PROTECTIVE ORDER )
